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                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
NIRAV THAKKER                                 )
                                              )
                        Plaintiff,            )          Case No.: 1:15-cv-10109
                 v.                           )
                                              )          District Judge John J. Tharp Jr.
OCWEN LOAN SERVICING, LLC, a Delaware )
limited liability company, ALTISOURCE         )          Magistrate Judge Maria Valdez
SOLUTIONS, INC., a Delaware corporation;      )
ALTISOURCE PORTFOLIO SOLUTIONS, S.A., )
a Luxembourg corporation, BAXOL               )
PROPERTIES, LLC, an Indiana limited liability )
company and LAUDAN PROPERTIES, LLC, an )
Ohio limited liability company,               )
                                              )
                        Defendants.           )

                     DEFENDANT ALTISOURCE SOLUTIONS, INC.’s
                         MOTION TO SUBSTITUTE COUNSEL

       NOW COMES the Defendant, Altisource Solutions, Inc., in accordance with Local Rule

83.17 and hereby moves this Honorable Court for entry of an Order granting Adrian Mendoza

and Angela Iaria of Lillig & Thorsness, Ltd., leave to file their appearances on behalf of

Altisource Solutions, Inc., and withdrawing the appearances of Eric Martin, Jena M. Valdetero,

Maria Zoee Vathis, and Katharine Flynn Lessaris of Bryan Cave Leighton Paisner, LLP on

behalf of Altisource Solutions, Inc.

Respectfully submitted,                           Respectfully submitted,


By: /s/ Adrian Mendoza                            By: /s/ Eric Martin
Adrian Mendoza                                    Eric Martin
Angela Iaria                                      Jena M. Valdetero
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